           Case 2:21-cv-00117-JM Document 3 Filed 11/01/21 Page 1 of 1




                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                   DELTA DIVISION

TREAVIE SHARS,                                                                         PLAINTIFF
ADC #166110

v.                                    2:21CV00117-JM-JTK

JEFF HEAGWOOD, et al.                                                              DEFENDANTS

                               MEMORANDUM AND ORDER

       Treavie Shars (“Plaintiff”) has not responded to the Court’s September 9, 2021 Order

directing him to pay the $402 filing fee or file a Motion to Proceed in forma pauperis within thirty

days. (Doc. No. 2). The Court warned Plaintiff in the Order that failure to comply would result

in the dismissal of his Complaint without prejudice.

       Rule Local Rule 5.5(c)(2) of the Rules of the United States District Courts for the Eastern

and Western Districts of Arkansas provides as follows:

       It is the duty of any party not represented by counsel to promptly notify the Clerk
       and the other parties to the proceedings of any change in his or her address, to
       monitor the progress of the case and to prosecute or defend the action diligently . .
       . . If any communication from the Court to a pro se plaintiff is not responded to
       within thirty (30) days, the case may be dismissed without prejudice. . . .

       Because Plaintiff failed to respond, his Complaint is DISMISSED without prejudice for

failure to prosecute.

       IT IS SO ORDERED this 1st day of November, 2021.



                                              _________________________________
                                              JAMES M. MOODY, JR.
                                              UNITED STATES DISTRICT JUDGE
